      Case 4:23-cv-00105-PK Document 4 Filed 11/07/23 PageID.26 Page 1 of 4




                            THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH


 ALLEN MAUIA,                                         ORDER TO PREPARE SCHEDULE
                                                      AND PREPARE FOR CASE
                    Plaintiff,                        MANAGEMENT CONFERENCE

 v.                                                  Case No. 4:23-cv-00105-PK

 EQUIFAX INFORMATION SERVICES,
 LLC,
                                                   Magistrate Judge Paul Kohler
                    Defendants.




        Because “the court and the parties [are] to secure the just, speedy, and inexpensive

determination of every action and proceeding” and to fulfill the purposes of Rules 16 and 26 of

the Federal Rules of Civil Procedure, this order provides

        (a) a method of preparing a schedule for the case; and

        (b) a method of preparation for a Case Management Conference.

        IT IS HEREBY ORDERED:

        A.       PREPARATION OF A CASE SCHEDULE

        1.       Proposal of Schedule: Plaintiff must propose a schedule to defendant in the

form of a draft Attorney Planning Meeting Report within the earlier of fourteen (14) days after

any defendant has appeared or twenty-eight (28) days after any defendant has been served with

the complaint.

        2.       Development of Schedule: Within the earlier of twenty-eight (28) days after any

defendant has appeared or within forty-two (42) days after any defendant has been served with the




                                                                                               Page 1
    Case 4:23-cv-00105-PK Document 4 Filed 11/07/23 PageID.27 Page 2 of 4




complaint (or such other time as may be ordered), the parties shall meet and confer and do one

of the following:

              a.     File a jointly signed Attorney Planning Meeting Report and also email

                     a stipulated Proposed Scheduling Order in word processing format to

                     utdecf_kohler@utd.uscourts.gov and a stipulated Motion for Initial

                     Scheduling Conference; or

              b.     If the parties cannot agree on a Proposed Scheduling Order, plaintiff must

                     file a jointly signed Attorney Planning Meeting Report detailing the

                     nature of the parties’ disputes and must also file a stipulated Motion for

                     Initial Scheduling Conference; or

              c.     If the parties fail to agree on an Attorney Planning Meeting Report or on a

                     stipulated Motion for Initial Scheduling Conference, plaintiff must file a

                     Motion for Initial Scheduling Conference, which must include a

                     statement of plaintiff’s position as to the schedule. Any response to such a

                     motion must be filed within seven days.

       3.     Initial Disclosures: Each party shall make initial disclosures within 42 days after

the first answer is filed. This deadline is not dependent on the filing of an Attorney Planning

Meeting Report, the entry of a Scheduling Order, or the completion of a Case Management

Conference.

       4.     Recommended Schedule: The parties are urged to propose a schedule providing:

              a.     Filing, about eight weeks after initial disclosures, a deposition plan

                     including names of deponents (or role, if name is unknown), place, and




                                                                                              Page 2
    Case 4:23-cv-00105-PK Document 4 Filed 11/07/23 PageID.28 Page 3 of 4




                      date of deposition. This should be added to the draft scheduling order as a

                      new item 1. d.

               b.     Fact discovery completion no more than six months after the filing of the

                      first answer.

               c.     Expert reports from the party with the burden of proof on that issue 28

                      days after the completion of fact discovery, and responsive reports 28

                      days thereafter.

               d.     Expert discovery completion 28 days after filing of an expert’s report.

               e.     Dispositive motion and Daubert motion filing deadline no more than 10

                      months after the filing of the first answer.

       B.      PREPARATION FOR CASE MANAGEMENT CONFERENCE

       Even if a stipulated scheduling order is submitted, a Case Management Conference will be

held. The purpose of a Case Management Conference is to engage in a meaningful, thorough

discussion about the case. At this time when the case is new, much information may be unknown

or uncertain, but exploration of those areas and known information is important.

       The parties must be prepared to address the following questions, in addition to those raised

by the Attorney Planning Meeting Report:

       a.      In 5 minutes or less, each party should be able to describe the crucial facts, primary

               claims, and primary defenses.

       b.      Are all claims for relief necessary or are they overlapping? Can any claim for relief

               be eliminated to reduce discovery and expense?

       c.      Are all pleaded defenses truly applicable to this case? Can any be eliminated?




                                                                                               Page 3
Case 4:23-cv-00105-PK Document 4 Filed 11/07/23 PageID.29 Page 4 of 4




  d.    What 2-3 core factual or legal issues are most likely to be determinative of this

        dispute?

  e.    Who are the 1- 3 most important witnesses each side needs to depose? Is there any

        reason these witnesses cannot be deposed promptly?

  f.    Are any discovery issues, such as locations for depositions or deposition sequence,

        anticipated?

  g.    What types of experts are anticipated in the case?

  h.    What information would be most helpful in evaluating the likelihood of

        settlement? Is there any reason it cannot be obtained promptly?

  i.    What would be an optimum time for the attorneys and parties to confer regarding

        settlement? Would a facilitated discussion be best?

  j.    Have the parties considered using the court’s ADR resources, including settlement

        conferences and mediation services?

  k.    What could be done at the outset to narrow and target the discovery in the case?

  l.    What agreements have the parties reached regarding limitations on discovery,

        including discovery of ESI?

  m.    Is there a need to schedule follow-up status conferences?

  Signed November 7, 2023.

                                       BY THE COURT


                                       ________________________________________
                                       PAUL KOHLER
                                       United States Magistrate Judge




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